                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK



KWAINE THOMPSON,
                                         No. 22-cv-1458 (JPO) (KHP)
            Plaintiff,

      vs.

THE CITY OF NEW YORK, et al.,

            Defendants.


KWAINE THOMPSON,
                                         No. 23-cv-2102 (JPO) (KHP)
            Plaintiff,

      vs.
                                         FIRST AMENDED COMPLAINT FOR
THE CITY OF NEW YORK,                    DAMAGES AND EQUITABLE RELIEF
LYNELLE MAGINLEY-LIDDIE,
THOMAS GRIFFIN, CHRISTOPHER L.
MILLER, WARDEN COLLINS,                   DEMAND FOR JURY TRIAL
ASSISTANT DEPUTY WARDEN HENRY,
DEPUTY WARDEN MILLER, ERNEST
FLUKER, JIMMY GUAN, ADAM
ROLLINSON, CAPT. LOPEZ,
CAPT. PALMERO, CHARLTON
LEMON, C.O. LOTT,
C.O. TAYLOR, STELLA BETHEA,
PRZEMYSLAW WOLOSIK, WALTER
MCNEIL, FEDIR MERENYCH,
MARVA BRANCHE, KEESIA LEITCH,
ANTHONY MARDEN, ANTONIO
GRAVES, NURSE BLOUNT,
and DOES 1-30,


            Defendants.
          Plaintiff Kwaine Thompson, by and through his undersigned pro bono counsel, brings this

action for damages and equitable relief, and alleges as follows:

                                 PRELIMINARY STATEMENT

          1.     Plaintiff brings this action under federal and state law against the City of New

York and its employees following the retaliation he experienced on Rikers Island, particularly at

West Facility and GRVC, after he filed suit against correctional officers.

          2.     This complaint asserts claims based on Plaintiff’s conditions of confinement,

medical and health issues, excessive force, due-process violations, among other things, as well as

violations of Plaintiff’s rights under Section 504 of the Rehabilitation Act of 1973, 29 U.S.C. §§

701 et seq., the Americans with Disabilities Act of 1990, as amended, 42 U.S.C. §§ 12101 et seq.

(“ADA”), the New York State and City Human Rights Law, New York Executive Law §§ 290,

et seq., Admin. Code of the City of New York §§ 8-101 et seq.

          3.     As more fully explained below, Defendants deprived Plaintiff of the rights,

remedies, privileges, and immunities guaranteed to every person by the First, Fourth, Eighth,

and Fourteenth Amendments to the U.S. Constitution, without limitation.

          4.     Plaintiff seeks damages and equitable relief, including declaratory relief and

nominal damages, based on Defendants’ violations of his rights.

                                           THE PARTIES

          A.     Plaintiff

          5.     Plaintiff Kwaine Thompson (“Plaintiff” or “Thompson”) is a natural person and

resident of the State of New York. At all times relevant, Plaintiff was a pretrial detainee on Rikers

Island.



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           B.    Defendants

                 1. Institutional and Supervisory Defendants

           6.    Defendant the City of New York (the “City”) is a municipal corporation

organized under the laws of the State of New York. Through its Department of Corrections

(“Department” or “DOC”), the City manages and operates correctional facilities like Rikers

Island.1

           7.    Defendant Lynelle Maginley-Liddie is the Commissioner of the New York City

Department of Corrections, and she is sued in her official capacity. As Commissioner, she is

responsible for the policy, practice, supervision, and conduct of all City-run correctional

facilities, as well as the care, custody, and control of detained individuals.

           8.    Defendant Thomas Griffin is the DOC Assistant Commissioner; he is sued in

both his official and individual capacities.

           9.    Defendant Christopher L. Miller is the DOC Assistant Commissioner; he is sued

in both his official and individual capacities.

           10.   Defendant Collins is the Warden of West Facility and directly responsible for its

operation, and s/he is sued in their official capacity.

           11.   Defendant Henry is the Assistant Deputy Warden (“ADW”) of the George R.

Vierno Center (“GRVC”), and he is sued in both his official and individual capacities.

           12.   Defendant Miller is the Deputy Warden (“DW”) of West Facility; he is sued in

both his official and individual capacities.



1
 Relevant here, the City and Department are interchangeable and synonymous with one another; whenever
reference is made to one, it includes the other.


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        13.     Defendant Fluka (a/k/a Ernest Fluker) is a captain with the Correction

Intelligence Bureau (“CIB”); he is sued in both his official and individual capacities.

        14.     Defendant Jimmy Guan is a captain on Rikers Island; he is sued in both his official

and individual capacities.

        15.     Defendant Lopez (shield no. 462) is a captain employed by the Department; he is

sued in both his official and individual capacities.

        16.     Defendant Rollinson (a/k/a Rollins) (a/k/a Adam Rollison) is a captain employed

by the Department and assigned to West Facility. He is sued in both his official and individual

capacities.

        17.     Defendant Palmero is a captain employed by the Department and assigned to

GRVC. He is sued in both his official and individual capacities.

        18.     Defendant Charlton Lemon (a/k/a Captain Lemon) is a correctional officer on

Rikers Island; he is sued in both his official and individual capacities. It appears that Lemon

currently holds the position of DOC Assistant Chief of Security.

                2. CO Defendants

        19.     Defendant Lott is a correctional officer on Rikers Island; he is sued in both his

official and individual capacities.

        20.     Defendant Taylor is a correctional officer on Rikers Island; he is sued in both his

official and individual capacities.

        21.     Defendant Stella Bethea is a correctional officer on Rikers Island; she is sued in

both her official and individual capacities.




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        22.     Defendant Przemyslaw Wolosik is a correctional officer on Rikers Island; he is

sued in both his official and individual capacities.

        23.     Defendant Walter McNeil is a correctional officer on Rikers Island; he is sued in

both his official and individual capacities.

        24.     Defendant Fedir Merenych is a correctional officer on Rikers Island; he is sued in

both his official and individual capacities.

        25.     Defendant Marva Branche is a correctional officer on Rikers Island; she is sued in

both her official and individual capacities.

        26.     Defendant Keesia Leitch is a correctional officer on Rikers Island; she is sued in

both her official and individual capacities.

        27.     Defendant Anthony Marden is a correctional officer on Rikers Island; he is sued in

both his official and individual capacities.

        28.     Defendant Antonio Graves is a correctional officer on Rikers Island; he is sued in

both his official and individual capacities.

        29.     Defendant Blount is a nurse that provided services to Plaintiff on Rikers Island;

she is sued in both her official and individual capacities.

                3. DOC Employee-Defendants/Doe Defendants

        30.     Defendant Does 1 through 30, inclusive, refers to DOC employee-defendants

whose identities are unknown to Plaintiff. In the original complaint, there are multiple employee-

defendants whose identities are unclear, including officers that staffed West Facility like the

Department’s Special Response Team (“SRT”) or the Emergency Services Unit (“ESU”), for

example.



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        31.     Accordingly, Plaintiff refers to these Doe defendants as Does 1 through 30,

inclusive, until he can amend his complaint to reflect their name and information once

discovered. The true names and capacities of these defendants are presently unknown to

Plaintiff. Regardless, each Doe defendant is responsible in some way for the events described

herein and thus liable to Plaintiff.

        32.     The foregoing defendants were acting as employees, agents or representatives of

the Department and performed duties and responsibilities acting under color of state law.

                                  JURISDICTION AND VENUE

        33.     The acts set forth in this complaint arise under 42 U.S.C. § 1983 based on

violations of Plaintiff’s rights under the United States Constitution, unless otherwise indicated

(e.g., it arises under the laws of the State of New York), in which case the Court has

supplemental or pendent jurisdiction.

        34.     The Court has subject-matter jurisdiction under 28 U.S.C. §§ 1331 and 1343, as

well as jurisdiction to issue a declaratory judgment under 28 U.S.C. §§ 2201(a) and 2202.

        35.     The Court has supplemental jurisdiction over the related state and local law

claims under 28 U.S.C. § 1367(a).

        36.     Venue is proper under 28 U.S.C. § 1391(b), because a substantial part of the

events or omissions giving rise to this suit occurred within this District.

                                         INTRODUCTION

        37.     In March 2019, Plaintiff made his latest trip to Rikers where he was exploited and

mistreated. Plaintiff later disclosed the abuse and, while still on Rikers Island, filed a string of

lawsuits about his experiences.



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         38.     In response, Plaintiff faced retaliation and efforts to intimidate and harass him in

an apparent attempt to dissuade him from continuing with his litigation. This complaint

represents the last months of Plaintiff’s detention on Rikers Island.

                                    FACTUAL ALLEGATIONS

    I.         RELEVANT CONTEXT: THOMPSON AND NEW YORK CITY JAILS

         39.     Plaintiff has a long, storied history with the City’s jails and criminal justice

system. Starting in the 1990s and until today, Plaintiff has made around thirty trips to Rikers.

         40.     Throughout, Plaintiff consistently experienced the age-old stories that have been

associated with Rikers Island: violence, brutality, and mistreatment. Notably, up until a brutal

stabbing in 2010, Plaintiff never brought suit despite a number of injuries while in DOC custody.

         41.     That 2010 attack involved, among other things, nearly 15 gang members—left

unsupervised by the COs— who beat and stabbed Plaintiff and caused him to fracture his left

orbital floor. Plaintiff found himself in a wheelchair after that attack.

         42.     Almost two years later, once again, Plaintiff was victim to another horrific, violent

episode—only this time, guards (not inmates) were responsible. Several COs struck and battered

Plaintiff, which ultimately required Thompson undergo surgery and wiring his jaw shut. That

experienced ended up with Thompson at Bellevue for almost a week.

         43.     Plaintiff is diagnosed with Post-Traumatic Stress Disorder (PTSD), which

followed in the aftermath of his experiences on Rikers Island.

         44.     In addition to PTSD, Plaintiff has asthma and struggles with breathing, and

difficulty with both his hearing and walking.

         45.     Plaintiff also relies on a cane for help, which he has used since at least 2022.



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       II.         THOMPSON’S LATEST TRIP TO RIKERS IN MARCH 2019

             46.     Thompson arrived on Rikers Island in March 2019 and remained there until on or

about February 14, 2023.

             47.     At first, Plaintiff did not have any assigned or permanent facility placement. He

bounced between various buildings—spending, for example, seventeen (17) days at the Anna M.

Kross Center (“AMKC”) and five (5) days at the Brooklyn Detention Complex (“BKDC”),

among others—before eventually arriving to the Vernon C. Bain Center (“VCBC”) on or about

August 1, 2020.

             48.     VCBC marked the beginning of Plaintiff’s efforts to report and protest the abuse,

mistreatment, and prison conditions on Rikers Island. After he left, Plaintiff went on to file

several complaints in an attempt to raise awareness and protest prison conditions, as well as

mistreatment and abuse at the hands of DOC guards and employees on Rikers

             49.     Critically, Plaintiff was subject to a lockdown order, which required that his

telephone and internet access be limited to a handful of people2

             50.     Defendants, however, enforced that directive at their own whim and when

convenient. Some facility assignments allowed Plaintiff outdoor recreation, social opportunities

with other inmates, and to freely make telephone calls.

The Mistreatment and Forced Sex Acts on VCBC and GRVC

             51.     On VCBC, for example, several guards sexually exploited Thompson and, in

exchange for his compliance, rewarded him with special privileges, cell phone access, and

cigarettes, as alleged in the related action (no. 22-cv-1458).


2
    See Thompson v. City of New York, et al., 22-cv-1458, ECF No. 113 at ¶ 6.


                                                             7
          52.     On or about October 8, 2021, months after Plaintiff first disclosed the abuse on

VCBC, he was transferred to another facility, the George R. Vierno Center, or GRVC, where he

experienced similar sexual abuse and mistreatment by various guards and DOC employees.

          53.     For example, one CO requested Plaintiff’s assistance with smuggling contraband

and other illicit substances. Another officer sought sexual favors from Plaintiff. In either case, in

exchange for Plaintiff’s cooperation, rewarded him with special treatment, gifts, and other perks.

          54.     Almost eight months later, in or about August 2022, Plaintiff could no longer

agree to participate or perform sex acts at GRVC.

   III.         RETALIATION FOLLOWING PLAINTIFF’S MULTIPLE REPORTS
                AND LITIGATION AGAINST THE SAME DEFENDANTS

Thompson Is Inexplicably Transferred to West Facility

          55.     On or about December 2, 2022, Plaintiff was inexplicably transferred to West

Facility, where he experienced all types of retaliation until he eventually returned to GRVC on or

about January 16, 2023.

          56.     West Facility did not prove to be any easier for Plaintiff, although it became

increasingly clear that was intentional.

          57.     For instance, DW Miller visited Plaintiff’s cell on or about January 6, 2023, to

reinforce Defendants’ retaliatory motive. Miller said that, so long as Thompson was at West,

he'd be placed in enhanced restraints even though they were not required or helpful. “You better

drop your lawsuits if you know what's good for you,” Miller added.

          58.     At one point, Thompson was on suicide watch for 37 days during this entire

ordeal. Throughout this period, Plaintiff repeatedly made attempts at suicide and engaged in

other self-injurious behavior in response to Defendants’ conduct.

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West Facility Has a Sordid History and Reputation of Isolating Inmates

         59.      There is an alarming number of reports from other inmates who can attest to the

conditions and practices at West Facility, including unsanitary conditions, inmate mistreatment,

and the lack of oversight or accountability over guards. 3

         60.      The Department euphemistically refers to West Facility as offering “structurally

restrictive housing” for inmates that are regularly locked in solitary confinement for 23 to 24

hours a day without contact or access to the outside or social/group programming.4

         61.      Several inmates with substantially similar stories of indefinite isolation brought a

class action and successfully sued the City for its practices at West Facility.5

         62.      Apart from that, West Facility’s poor cleaning and unsanitary conditions are

equally well reported.6

         63.      When it comes to staffing, the Department has a litany of problems.7 To name one

thing: COs rarely face any serious consequences because there is a culture of impunity.8



3
 Cf., e.g., Courtney Gross, How does DOC punish detainees on Rikers Island?, NY1 (Jan. 29, 2024) (inmate reporting
West Facility is used for solitary confinement), available at https://tinyurl.com/ms3n6f7j.

4
 Center for Justice at Columbia University, Solitary by Many Other Names: A Report on the Persistent and Pervasive
Use of Solitary Confinement in New York City Jails (Dec. 2023), available at https://tinyurl.com/mr2vsvcw.

5
 See Jane Wester, City to Pay Up to $53 Million in Settlement, New York Law Journal (Apr. 19, 2023), available at
https://tinyurl.com/3zv6hdcn.

6
 See, e.g., Graham Rayman, Rikers Island, NYC jails plagued with bugs, mice, cleanliness violations, says federal court
monitor, Corrections1 (Mar. 1, 2024) (finding “thousands of violations”), available at https://tinyurl.com/4spsksk6.

7
 See, e.g., Graham Rayman, Widespread deterioration at Rikers Island uncovered in NYC jails monitor report, new
photos, N.Y. Daily News (July 5, 2023) (“fire safety posts in the West Facility, which consists of temporary
structures called “sprungs,” were unstaffed at least 82 times for periods ranging from three hours to 18 hours”),
available at https://tinyurl.com/46umhtx6.

8
 See, e.g., Reuven Blau, City to Shell Out $1.6 Million to Rikers Detainee Abused by Therapist, The City (May 13, 2024)
(allegations against DOC employees are “rarely substantiated” observing that only one correction officer has been
terminated over the past five years), available at https://tinyurl.com/3rsw7jjr; Graham Rayman, Rikers Island

                                                           9
Thompson’s Personal Experiences at West Facility

         64.       Shortly after he arrived to West, several guards openly expressed that Plaintiff was

sent to West because of his pending lawsuit. According to defendants McNeil and Henry, the

transfer was part of an attempt to stymie Plaintiff’s various lawsuits against the City and officers.

They even added that, apart from being sent to West Facility, Plaintiff would soon face other

repercussions for his decision to sue (e.g., family visits would soon be cut off).

         65.       Worse enough, Plaintiff could not make any reports/complaints—whether in

writing or by phone through the Department’s 311 hotline—while at West Facility, for several

reasons.

         66.       West Facility does not have any drop box for inmates to make written complaints.

         67.       Plaintiff’s alternative—calling 311—similarly proved futile. The hotline had been

removed from his telephone list (numbers allowed to call). Plaintiff was thus left to make reports

to officers verbally, but unsurprisingly, officers did not take any serious action on those reports.

         68.       Additionally, even though Plaintiff had made PREA complaints before his transfer

to West Facility, Department investigators did not make any further follow-ups or even enforced

their separation orders.

         69.       Consider that Plaintiff made multiple reports about CO Branche and obtained a

separation order. However, the separation order was nothing more than an exercise in futility

because, Branche nonetheless continued in the same position, working in close proximity to

Plaintiff and finding new ways to harass him.




corrections officer suspended after jail search finds contraband cache, Corrections1 (Mar. 7, 2024) (finding no staff
suspensions for contraband in 2022), available at https://tinyurl.com/msjajj6f.


                                                             10
        70.      While at West, Plaintiff was subject to arbitrary searches, including strip searches

and inside his cell, on an almost daily basis by unnamed SRT officers (badge nos. 102, 120, 182,

74, 75, 78, 77, 79, 65, 80, 88, 82, 203, 111, 113, and 112), as well as an ESU captain and officer

(badge nos. 28 and 4190, respectively).

        71.      In several instances, Defendants randomly confiscated or deprived Plaintiff of his

property, including when he had received a gift or item in the mail, for no reason.

        72.      Unlike other inmates on Rikers—who received outdoor and recreational

privileges—Thompson had little to zero opportunities for recreation. And that appeared

deliberate by some COs’ admission.

        73.      Defendant Bethea openly aired her disdain for Thompson and acknowledged that

other inmates could access the outdoors and common areas. In part, this was because of Bethea’s

relationship to CO Kenol—her biological sister—who Plaintiff had named as a defendant in

another lawsuit.

        74.      One of the unfortunate aspects of West Facility is the lack of privacy for inmates

when showering since there are no curtains, among other things.

        75.      Plaintiff often was exploited and purposely forced to shower in front of female

officers, which is not a first for West Facility’s detainees.9

        76.      McNeil even added that Plaintiff would never have a shower curtain and thus be

forced to shower fully exposed to female COs.




9
 See supra, Solitary by Many Other Names, p. 9 (“officers forced [an inmate] to remain naked in the squatting
position while making sexually explicit comments, then pepper spayed him in the face and across his nude body”
before locking him in a “shower cell for four hours”).


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        77.      The forced and public displays of Plaintiff nude were contrary to his religious

beliefs/practices as a Muslim.

        78.      To make matters worse, Plaintiff was housed in cell 614, which was made up of

glass entirely and allowed others to watch him around the clock in an apparent attempt to

humiliate him.

        79.      In another incident on or about January 3, 2023, Captain Fluka entered Plaintiff’s

cell and searched it before ordering Plaintiff to strip naked, all of which appeared to be for the

purpose of harassing Plaintiff. Two other CIB officers were present at the time.

        80.      On or about January 9, 2023, while showering, SRT officers walked by Plaintiff

every couple of minutes.

        81.      Meanwhile, another high-ranking DOC official—who Plaintiff later learned was

Assistant Commissioner Miller—stood outside the cell. Once Fluka and the other CIB officers

left, Plaintiff heard a conversation between Fluka and the commissioner, in which Fluka stated

that he would continue to harass and intimidate Plaintiff and others with litigation against the

City.

        82.      Defendants frequently pressed Thompson to dismiss his pending litigation, often

finding new ways to impress their message on him.

        83.      Defendants frequently placed Thompson in restraints, even for short trips from

one cell to another, for no apparent reason.

        84.      On or about January 7, 2023, CO Anderson approached Plaintiff to escort him to

the yard. Anderson placed Plaintiff in restraints, however, for no apparent reason. Although,




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Anderson added that, should Thompson drop his litigation, the shackles “would never happen

again.”

          85.   Thompson replied that he would think about it, but before anything else, he

requested that he move out of West Facility. Anderson said he’d see what he can do. About ten

days later, Plaintiff was transferred out of West to GRVC on or about January 16, 2023.

          86.   Both at West and GRVC, Plaintiff experienced multiple issues when it came to his

health and medical conditions. For example, Plaintiff takes medication for high blood pressure

every morning—but those morning rounds would occur in the afternoon, or whenever the CO

defendants agreed.

          87.   The irregularities and delay in medication were noticeable for Thompson, who

had chest pains, panic attacks, and other health conditions.

Thompson Returns to GRVC After West

          88.   To be clear, the delay and gaps in medication were not by accident. For instance,

on one occasion after Plaintiff left West, defendant Blount—who Plaintiff named as a defendant

in another lawsuit—said “Make him wait!” referring to Thompson’s medications. “This

a**hole is suing me,” Blout added, referring to Thompson.

          89.   On or about February 7, 2023, Plaintiff alerted defendants Merenych and Paulino

of the missed medication issues. The officers replied that, in reality, Plaintiff had missed

medications because of his ongoing cases against the City.

          90.   A few days later, while on the way to the clinic, Thompson tried to bring up the

medication issue again with defendants Lott and Taylor on or about February 10, 2023. Both

officers similarly unbothered by their own admission.



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        91.     “We heard about your numerous lawsuits. We are here to tell you that your

services will be a lot slower than other inmates. You brought that on yourself,” Lott and Taylor

explained.

        92.     Lott and Taylor’s remarks were distressing to Thompson, who experienced a

mental health emergency that day.

        93.     Indeed, Plaintiff had multiple experiences where he felt like difficulty breathing

and chest pain. His complaints simply were ignored by the CO defendants.

        94.     In the words of one guard, “You’re a scumbag… Stop filing lawsuits and then you

will get treated right.”

        95.     And the abuse was not only verbal. As if words were not enough, some CO

defendants were more aggressive.

        96.     On one February morning, for example, defendant ADW Henry walked into

Plaintiff’s cell and sprayed mace or another similar chemical agent throughout the room before

closing the door, which exacerbated Plaintiff’s breathing and respiratory issues. Thompson

already has trouble breathing since he suffers from chronic asthma, which dates back to his

childhood.

        97.     Barely able to breathe, Plaintiff lost consciousness and laid bare on the floor of his

cell for hours. Plaintiff also began to vomit and, unable to get up, was forced to lay in his vomit for

hours before a CO ever came.

        98.     Defendants often tried to impede Plaintiff’s ability to use the law library and

prepare for his legal cases, especially his criminal case.




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       99.     On some days, Thompson could not access the law library or review evidence,

which harmed both his criminal case and civil cases against the City.

       100.    Other days, when allowed to access the law library, Defendants forced him to

urinate and defecate in a plastic trash bag. When Plaintiff expressed that using a plastic bag felt

inhumane and humiliating, defendant Lott did not seem to care. “Use the bag or piss on yourself

or on the floor,” she said. Plaintiff had use to a plastic bag several times that day to urinate…

       101.    And it was not a one-off incident. Plaintiff had to use a bag on several occasions,

including the very next day, on or about February 11, 2023, at the direction of defendants

Merenych and Wolosik.

       102.    Not to mention, Plaintiff’s cell had a litany of problems: rats, water bugs, rats, and

roaches, to name a few things.

       103.    Plaintiff was even denied access to standard cleaning supplies (like a broom) by

the CO defendants in an apparent attempt to further retaliate against Thompson.

       104.    Nor could Thompson rely on regular access to the laundry room, which defendant

Merenych said was punishment for Thompson’s lawsuits against the Department. As a result,

Plaintiff began to develop sores from re-wearing the same, unwashed clothing… That’s not even

accounting for the overwhelming distress and depression that Plaintiff experienced as a result.

       105.    Fundamentally, whether at West or GRVC, there was no reasonable basis to

support or even rationalize Defendants’ decisions and actions.

Thompson’s Disability and Requests for Accommodations

       106.    As previously mentioned, Plaintiff has hearing problems with one ear. He also has

problems with maintaining his balance and walks with a cane.



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        107.    These conditions affect Thompson’s daily life and quality of living.

        108.    Plaintiff has another unrelated issue—he is hard of hearing. As a hearing-impaired

individual, Thompson needs an auxiliary aid, or reasonable accommodation, in order to hear

properly.

        109.    Among other things, Plaintiff’s hearing affects his ability to use the telephone—

whether to, say, speak with his criminal lawyer or call family.

        110.    And Plaintiff made repeated requests for accommodations to DOC employees,

none of which proved to be successful.

        111.    Plaintiff’s ability to access the law library as well as other inmate programming

was substantially hindered.

Religious Discrimination and Harassment

        112.    Both at West and GRVC, Plaintiff experienced all kinds of harassment about his

religious beliefs.

        113.    Plaintiff is a practicing Muslim and, as part of his beliefs, maintains a halal diet. In

the past, Plaintiff received halal food without issue, although Defendants began frequently

ignoring Plaintiff’s diet and, on several occasions, refused to provide him with halal food.

        114.    Some defendants, particularly the unnamed SRT officers, regularly tried to serve

Plaintiff food with pork in it.

        115.    Plaintiff experienced various forms of religious discrimination, as previously

mentioned, which grew worse once he returned to GRVC from West Facility.




                                                   16
         116.   On or about January 17, 2023, defendant Assistant Commissioner Griffen

informed Thompson that, so long as there was litigation pending against the City, Thompson

would not receive halal food consistent with his religious beliefs and dietary restrictions.

         117.   Griffen walked to the housing unit at GRVC (unit 1/a) and reiterated that the

campaign of harassment and intimidation would not let up. "Do not give the Muslims halal food,"

Griffen added apparently as part of that campaign.

         118.   Plaintiff had always carried a Quran as part of his belongings, but when he

returned to GRVC this time, it went missing. Thompson asked the CO defendants, one of whom

did not mince words: “I hate your dirty religion.”

   IV.      PROCEDURAL HISTORY

         119.   On March 10, 2023, Plaintiff filed a complaint in the present lawsuit proceeding

pro se. ECF No. 1.

         120.   The case subsequently changed departments and became associated/related with

Plaintiff’s other case (22-cv-1458).

         121.   Plaintiff filed a request for pro bono counsel on May 31, 2024, seeking assistance to

amend his complaint. The court subsequently granted Plaintiff’s request and appointed counsel

(who was already representing Thompson in the related case). See ECF Nos. 7, 9, 13.

         122.   Importantly, for this complaint, Plaintiff’s communication capabilities are limited,

as he remains detained, and this complaint reflects counsel’s best effort to capture all of

Thompson’s allegations and claims as set forth in the original complaint.




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                                      CAUSES OF ACTION

                                           COUNT I
                                   Conditions of Confinement
                         Fourteenth Amendment to the U.S. Constitution

        123.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        124.    The Fourteenth Amendment applies to Plaintiff, as a pretrial detainee, not the

Eighth Amendment, which governs claims for post-conviction inmates.

        125.    To establish a claim for unconstitutional conditions of confinement, a pretrial

detainee must satisfy two prongs: 1) an objective prong showing that the challenged conditions

were sufficiently serious and 2) a mens rea prong that shows the officer-defendant acted with at

least deliberate indifference to the challenged conditions.

        126.    Defendants subjected Plaintiff to poor and inhumane conditions, and on top of

that, withheld cleaning supplies in violation of the Fourteenth Amendment.

        127.    Defendants exhibited deliberate indifference to Plaintiff’s reports about his health

and medical conditions.

        128.    As a result, Plaintiff has suffered damages.

                                          COUNT II
                        Inadequate Medical Care and Medical Indifference
                         Fourteenth Amendment to the U.S. Constitution

        129.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        130.    To prevail, a plaintiff must meet two requirements: (1) that he had a serious

medical need, and (2) that the defendant acted with deliberate indifference to such need.



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        131.    Defendants repeatedly demonstrated their indifference to Plaintiff’s medical

needs and overall health.

        132.    Defendants frequently delayed Plaintiff’s daily medication trips intentionally.

        133.    On a few occasions, Plaintiff experienced medical emergencies, but whenever he

informed officers, they essentially ignored them.

        134.    As a result, Plaintiff has suffered damages.

                                         COUNT III
                                    Excessive-Force Claims
                         Fourteenth Amendment to the U.S. Constitution

        135.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        136.    To establish a claim of excessive force, a pretrial detainee must show only that

force purposely or knowingly used against him was objectively unreasonable.

        137.    Defendants wrongfully subjected Plaintiff to excessive force.

        138.    For example, defendant Henry entered Plaintiff’s cell and used pepper spray to

fumigate the room entirely and causing Plaintiff to nearly suffocate. That is, standing alone,

sufficient.

        139.    As a result, Plaintiff has suffered damages.

                                          COUNT IV
                                  Failure to Protect/Intervene
                         Fourteenth Amendment to the U.S. Constitution

        140.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.




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        141.    As described herein, the CO defendants and other DOC employees of all different

ranks targeted Plaintiff as part of their intimidation and harassment efforts.

        142.    It is a constitutional violation if an officer acts with deliberate indifference to a

substantial risk of harm to an inmate that caused unquestioned and serious deprivation of basic

human needs.

        143.    Defendants repeatedly failed to protect or intervene in instances that resulted in

violations of Plaintiff’s rights.

        144.    As a result, Plaintiff has suffered damages.

                                         COUNT V
                                    Due-Process Violations
                         Fourteenth Amendment to the U.S. Constitution

        145.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        146.    To present a due process claim, a plaintiff must establish (1) that he possessed a

liberty interest and (2) that the defendant(s) deprived him of that interest as a result of

insufficient process.

        147.    Defendants violated Plaintiff’s due process rights, including his procedural due

process and substantive due process rights.

        148.    Likewise, Defendants violated Plaintiff’s due process rights by refusing him an

opportunity for a hearing, notice, and so on while on lockdown.

        149.    The Second Circuit has recognized a due process right to be free from pretextual

administrative confinement.




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        150.    Defendants repeatedly subjected Plaintiff to enhanced restraints without

justification and brazenly ignored his pleas.

        151.    Plaintiff did not have any hearing or process to contest his isolation/solitary

confinement or the shackles and restraints that he was forced to wear.

        152.    As a result, Plaintiff has suffered damages.

                                          COUNT VI
                                       Access to the Courts
                             First Amendment to the U.S. Constitution

        153.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        154.    The First Amendment protects an individual’s right to the courts, including the

right to petition the government, raise grievances, and so on.

        155.    Defendants repeatedly imposed unfair and impermissible restrictions on

Plaintiff’s access to the courts.

        156.    Defendants repeatedly tried to find new ways to stymie and thwart Plaintiff from

accessing the courts, including to raise complaints about constitutional violations as well as to

effectively defend and prepare his criminal case.

        157.    Plaintiff later had to accept a plea deal as a result of Defendants’ conduct.

        158.    As a result, Plaintiff has suffered damages.

                                           COUNT VII
                                     Religious Discrimination
                             First Amendment to the U.S. Constitution

        159.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.



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        160.    A plaintiff asserting a First Amendment Free Exercise Clause claim must

demonstrate that he or she has a sincerely-held religious belief which was substantially burdened

by the defendants' conduct and that the defendants' conduct was not reasonably related to some

legitimate penological interest.

        161.    Plaintiff is a practicing Muslim.

        162.    Defendants regularly ignored Plaintiff’s dietary restrictions and, perhaps worse,

served meals with pork in clear violation of Plaintiff’s religious beliefs.

        163.    Defendants also forced Plaintiff to shower fully exposed to female guards and

other COs despite his religious beliefs, which he had tried to explain to Defendants on several

occasions.

        164.    Defendants did not have any legitimate penological interest to support their

decisions like forcing Plaintiff to choose between pork or skipping meals/not eating.

        165.    As a result, Plaintiff has suffered damages

                                         COUNT VIII
                                   Religious Discrimination
                  Religious Land Use and Institutionalized Persons Act of 2000

        166.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        167.    Under the Religious Land Use and Institutionalized Persons Act, (“RLUIPA”),

"[n]o government shall impose a substantial burden on the religious exercise of a person residing

in or confined to an institution 42 U.S.C. § 2000cc-1(a).

        168.    Plaintiff’s religious exercise was substantially burdened.




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        169.    Defendants do not have any compelling, or even legitimate, governmental

interest.

        170.    As a result, Plaintiff has suffered damages

                                         COUNT IX
                                  Equal-Protection Violations
                         Fourteenth Amendment to the U.S. Constitution

        171.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        172.    A plaintiff must show 1) he was selectively mistreated, and 2) that mistreatment

was motivated by discrimination on an impermissible basis.

        173.    Plaintiff experienced multiple forms of mistreatment and the like on the basis of

religion as a Muslim.

        174.    Defendants, especially Griffin, took great lengths to aggravate Plaintiff, including

on the basis of his religion.

        175.    As one example, Defendants confiscated Plaintiff’s Quran and refused his

requests for one, reasoning that only a Bible is allowed.

        176.    Defendants did not have any legitimate penological interests in their mistreatment

of Plaintiff.

        177.    As a result, Plaintiff has suffered damages.

                                          COUNT X
                                          Retaliation
                             First Amendment to the U.S. Constitution

        178.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.



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        179.    To state a retaliation claim, a plaintiff must show that (1) he engaged in protected

activity; (2) the defendant took adverse action against him; and (3) there was a causal connection

between the protected activity and adverse action.

        180.    Plaintiff engaged in protected activity—namely, filing suit against the City and

filing grievances through the Department’s internal process, as established by the First

Amendment.

        181.    In an apparent attempt to punish Plaintiff for filing lawsuits against the DOC and

its employees, Plaintiff was repeatedly subject to all forms of harassment and mistreatment.

        182.    Confining a prisoner to keeplock—that is, a form of confinement segregating an

inmate from other inmates and depriving him of participation in normal prison activities—is

sufficient to establish an adverse action.

        183.    Plaintiff was transferred to West Facility as punishment in response to his

litigation and grievances.

        184.    As a result, Plaintiff has suffered damages.

                                           COUNT XI
                                       Supervisory Liability

        185.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        186.    A plaintiff may establish supervisory liability under section 1983 through evidence

that (1) the defendant participated directly, (2) the defendant, after being informed of the

violation through a report or appeal, failed to remedy the wrong, (3) the defendant created a

policy or custom under which unconstitutional practices occurred, or allowed its continuance, (4)

the defendant was grossly negligent in supervising subordinates who committed the wrongful

                                                 24
acts, or (5) the defendant exhibited deliberate indifference to a plaintiff’s rights by failing to act

on information indicating that unconstitutional acts were occurring. See, e.g., Tchatat v. City of

New York, No. 14 CIV. 2385 LGS, 2015 WL 5091197, at *8 (S.D.N.Y. Aug. 28, 2015).

        187.    The Supervisory Defendants were involved in multiple aspects and contexts for

the duration of Plaintiff’s detention.

        188.    To name one thing: Defendant Griffen directly participated in the foregoing

constitutional violations.

        189.    Other supervisory defendants simply looked the other way despite knowing full

well of the constitutional violations and misconduct.

        190.    As a result, Plaintiff has suffered damages.


                                         COUNT XII
                                      Municipal Liability
                   Monell v. Department of Social Services, 436 U.S. 658 (1978)

        191.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        192.    A municipality may be liable when the deprivation of a plaintiff’s rights is caused

by a governmental custom, policy, or usage of the municipality. And a custom or policy need not

be formally written; it may be inferred.

        193.    Particularly for its failure to supervise and discipline its employees/agents, the

City is liable where, as here, DOC leadership and policymakers are “knowingly and deliberately

indifferent to the possibility that its officers violate the constitutional rights of individuals…”




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        194.    The Department’s need for better supervision to protect against constitutional

violations was obvious, especially where inmate civil-rights complaints are ignored or not taken

seriously as here.

        195.    No doubt, City’s failure to supervise or even discipline its employees amounted to

deliberate indifference.

        196.    As a result, Plaintiff has suffered damages


                                        COUNT XIII
                                  Disability Discrimination
           Americans with Disabilities Act and Section 504 of the Rehabilitation Act

        197.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        198.    To establish a claim, a plaintiff must demonstrate 1) that he is a qualified

individual with a disability; (2) that he was excluded from participation in a public entity's

services, programs or activities or was otherwise discriminated; and (3) that such exclusion or

discrimination was due to his disability.

        199.     A plaintiff may base his claim on any of three theories of liability: disparate

treatment (intentional discrimination), disparate impact, or failure to make a reasonable

accommodation.

        200.    Plaintiff is a qualified individual with a disability.

        201.    Defendants are public entities covered by Title II of the ADA and Section 504 of

the Rehabilitation Act.

        202.    Title II of the ADA prohibits Defendants from discriminating against individuals

with disabilities in programs and services.

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        203.    Likewise, Section 504 provides that “[n]o person otherwise qualified individual

with a disability in the United States . . . shall, solely by reason of her or his disability, be

excluded…be the denied benefits of, or be subjected to discrimination…” 29 U.S.C. § 794.

        204.    Defendants engaged in multiple forms of disability discrimination.

        205.    Defendants repeatedly refused to provide Plaintiff a reasonable accommodation,

making arbitrary denials without justification.

        206.    Defendants, moreover, failed to make an individualized inquiry despite Plaintiff’s

repeated requests.

        207.    Defendants failed to provide assistive devices, including for Plaintiff’s hearing and

walking.

        208.    Defendants are obligated to administer state programs consistent with federal law.

        209.    Defendants ran afoul of their obligations under both the ADA and Section 504.

        210.    As a result, Plaintiff has suffered damages.

                                          COUNT XIV
                                     Constitutional Violations
                                    New York State Constitution

        211.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        212.    The New York State Constitution, Article I, §§ 3, 9, 11 and 12, likewise applies

here.

        213.    Defendants violated multiple of the aforesaid constitutional provisions.

        214.    As a result, Plaintiff has suffered damages.




                                                    27
                                            COUNT XV
                                        Statutory Violations
                                        New York State Law

        215.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        216.    Defendants are subject to Section 40 of the New York State Civil Rights Law and

Section 290 of the New York State Executive Law, among others.

        217.    Defendants’ acts and conduct contravened these statutes.

        218.    As a result, Plaintiff has suffered damages.

                                            COUNT XVI
                                             Negligence

        219.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        220.    To state a claim, a plaintiff must establish 1) the existence of a duty on

defendant’s part, 2) a breach of that duty, and 3) injury to the plaintiff.

        221.    Defendants owed a duty to Plaintiff.

        222.    Defendants breached their duty.

        223.    As a result, Plaintiff has suffered damages.

                                        COUNT XVII
                             Negligent Hiring, Training, and Supervision

        224.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        225.    DOC failed to adequately train and manage staff.

        226.    DOC had knowledge and notice of the individual defendants’ wrongdoing.



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        227.    The Department, however, failed to take any serious steps to remediate those

problems.

        228.    As a result, Plaintiff has suffered damages.

                                          COUNT XVIII
                     Negligent or Intentional Infliction of Emotional Distress

        229.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        230.    Under New York law, a claim of negligent infliction of emotional distress requires

a showing of (1) extreme and outrageous conduct, (2) a causal connection between the conduct

and the injury, and (3) severe emotional distress.

        231.    Similarly, a claim for intentional infliction of emotional distress under New York

law requires (1) extreme and outrageous conduct, (2) intent to cause severe emotional distress,

(3) a causal connection between the conduct and the injury, and (4) severe emotional distress.

        232.    For either claim, the conduct must be so outrageous in character, and so extreme

in degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized society.

        233.    Defendants’ conduct was extreme and outrageous.

        234.    Defendants’ conduct caused Plaintiff significant emotional distress.

        235.    Plaintiff experienced extensive mental health issues, including panic attacks, chest

pain, etc., as well as worsened his preexisting PTSD diagnosis.

        236.    Further, as a result of Defendants’ conduct, Plaintiff was suicidal and placed on

suicide watch for over a month.

        237.    As a result, Plaintiff has suffered damages.

                                                 29
                                        COUNT XIX
                                   Violations of Local Law
                              New York City Administrative Code

        238.    Plaintiff incorporates by reference all preceding paragraphs and re-alleges them as

if set forth fully herein.

        239.    Defendants’ acts, omissions, and conduct ran afoul of New York City law,

including the Humans Rights Law, sec. 8-101, et seq., sections 8-107(4), 8-603, 9-108(c), of the

New York City Admin. Code, and the Rules of the City of New York.

        240.    As a result, Plaintiff has suffered damages.



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                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Kwaine Thompson respectfully requests that the Court enter

judgment and an award in his favor against Defendants, as follows:

        A.      Declare that the policies, practices, actions, and omissions of Defendants violate
federal and state law, as described herein, including but not limited to the U.S. Constitution, the
New York State Constitution, and statutory and common law;

       B.    Award any and all available damages, including punitive, compensatory, statutory,
and consequential, without limitation, in an amount to be determined at trial;

       C.      Award nominal damages for Defendants’ violation of Plaintiff’s rights;

       D.      Award pre- and post-judgment interest at the highest rate allowed by law;

       E.     Award reasonable attorney fees and costs pursuant to 42 U.S.C. §§ 1988, 12205,
29 U.S.C. § 794a, and all other applicable law; and

       F.      Such other and further relief as the Court deems just and proper.

                                          JURY DEMAND

       Plaintiff requests a trial by jury on all triable claims and issues of fact.



Dated: October 28, 2024                         THE ATLANTIC FOUNDATION
       New York, NY

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                                                        appearance)


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